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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 Jennifer Harding, et al.,

                        Plaintiffs,
 v.

 John Bel Edwards, the Governor of the State
 of Louisiana, in his Official Capacity, et al.,

                        Defendants,                     Civil Action: 3:20-cv-495

          and

 The State of Louisiana,

                        Proposed Intervenor.



       THE STATE OF LOUISIANA’S UNOPPOSED MOTION TO INTERVENE.

       Pursuant to Federal Rule of Civil Procedure 24(a) and/or (b), the State of Louisiana, by and

through Attorney General Jeff Landry, in his official capacity, respectfully moves the Court to

permit the State of Louisiana to intervene in the above captioned suit. No party opposes this

motion.

                                                   1.

       On August 3, 2020, Plaintiffs brought this suit seeking injunctive and declaratory relief

claiming that in light of COVID-19, Louisiana’s election laws violate Plaintiffs’ First and

Fourteenth Amendment Rights as well as the Voting Rights Act. Harding v. Edwards, No. 3:20-

cv-495 (M.D. La.) (ECF No. 1).

                                                   2.

       In late May, 2020, Plaintiffs brought a substantially similar suit against the Governor,

Secretary of State, and local registrars of voters, which was eventually dismissed by this Court in
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late June, 2020. See Clark v. Edwards, No. 3:20-cv-283-SDD-RLB, 2020 U.S. Dist. LEXIS

108714 (M.D. La. June 22, 2020). The State sought intervention in that case and Plaintiffs

consented to that intervention. See Clark v. Edwards, No. 3:20-cv-283-SDD-RLB (M.D. La. June

5, 2020) (ECF No. 30).

                                                    3.

           Pursuant to Federal Rule of Civil Procedure 24(c), the State’s Motion to Dismiss Plaintiffs’

Complaint is attached as Exhibit A). The State reserves its right to amend its Motion to Dismiss

pursuant to any subsequent scheduling order the Court may order or as justice would otherwise

dictate.

                                                    4.

           Intervention is necessary here as of right or permissively so that the State, through its

constitutionally designated officer, may be heard in defense of its election laws and regulations.

Therefore, for the reasons detailed in the attached Memorandum of Law, the State respectfully

requests that the Court grant its Rule 24 Motion to Intervene.


Dated: August 21, 2020                                          Respectfully Submitted,

                                                 JEFF LANDRY
                                                 ATTORNEY GENERAL

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                             Counsel for Applicant the State of Louisiana
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                                CERTIFICATE OF SERVICE

       I do hereby certify that, on this 21st day of August 2020, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system, which gives notice of filing to all counsel

of record.

                                             /s/ Angelique Duhon Freel
                                             Angelique Duhon Freel


                                             Counsel for Applicant the State of Louisiana
